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                                   MINUTE ORDER



   CASE NUMBER:             CIVIL NO. 20-00431 LEK-KJM
   CASE NAME:               Joseph Pitts vs. Lei Silva et al.,


         JUDGE:      Leslie E. Kobayashi             DATE:            12/03/2021


  COURT ACTION: EO: Before the Court is Plaintiff’s “Motion for Clarification and Jury Trial
  Demand” [ECF No. 65]. Plaintiff expresses confusion regarding the status of a claim in the
  Second Amended Complaint related to the handling of his personal mail (Count IV) [id. at 2]. In
  its August 18, 2021 Order Dismissing Second Amended Complaint in Part and Directing
  Service, the Court concluded that Plaintiff’s claims against Defendants Silva and Kami in Count
  IV based on the alleged opening of his legal mail and delay in sending his outgoing mail could
  proceed [ECF No. 25 at 17]. The Court further concluded that any claims in Count IV based on
  the delivery of Plaintiff’s incoming personal mail were dismissed without prejudice [id.]. The
  Court also dismissed without prejudice any claims in Count IV against nine other “mailroom
  defendants” because Plaintiff did not link any of them to his claims [id. at 16 n.10]. In their
  Answer, Silva and Kami responded to Plaintiff’s allegations based on the alleged opening of his
  legal mail and delay in sending his outgoing mail [ECF No. 56 at 3]. To the extent Plaintiff has
  any further questions regarding the status of a particular claim, he is encouraged to read carefully
  this Court’s previous orders.

         IT IS SO ORDERED.

  Submitted by: Agalelei Elkington, Courtroom Manager
